











Opinion issued June 8, 2004











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–04–00431–CV
____________

IN RE VICTORIA MORARAS HILFORD, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator Victoria Moraras Hilford has filed a petition for writ of mandamus
complaining about the trial court’s


 order that denied her request to enforce a
mediated settlement agreement.


  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus and all outstanding motions.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Keyes and Bland.


